                              Case 23-10598-BLS                       Doc 1        Filed 05/08/23            Page 1 of 24

 Fill in this information to identify the case:

  United States Bankruptcy Court for the:


-------
      -                     District of Delaware
                                       (State)
  Case number (If known): __________ Chapter _11__                                                                                  □ Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06122

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                                Bittrex Inc.



 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names



 3. Debtor's federal Employer
    Identification Number (EIN)



 4. Debtor's address                         Principal place of business                                   Mailing address, if different from principal place
                                                                                                           of business

                                                 701          5th Ave.
                                             Number          Street                                        Number      Street

                                                 Suite 4200
                                                                                                           P.O. Box

                                                 Seattle                        WA        98104
                                             City                              State     ZIP Code          City                        State        ZIP Code

                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                 King
                                             County
                                                                                                           Number      Street




                                                                                                           City                        State        ZIP Code




 s. Debtor's website (URL)                       www.bittrex.com




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
                              Case 23-10598-BLS                 Doc 1       Filed 05/08/23              Page 2 of 24

Debtor         Bittrex, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best descr bes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 4 ___
                                                    1 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 3 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 4 of 24
                           Case 23-10598-BLS                  Doc 1          Filed 05/08/23        Page 5 of 24

Debtor       Bittrex, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                       /s/ Robert S. Brady
                                          _____________________________________________            Date        05 / 08 / 2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Robert S. Brady
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Young Conaway Stargatt & Taylor, LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         1000        North King Street
                                         _________________________________________________________________________________________________
                                         Number     Street
                                         Wilmington
                                         ____________________________________________________             DE
                                                                                                         ____________  19801
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         302-571-6600
                                         ____________________________________                             rbrady@ycst.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         2847
                                         ______________________________________________________ Delaware
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 6 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 7 of 24
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS               Doc 1   Filed 05/08/23    Page 8 of 24




                                                              Bittrex, Inc.

                                          MINUTES OF THE MEETING OF THE
                                           BOARD OF DIRECTORS HELD ON

                                                               May 5, 2023
                                                             9:00 a.m. (PST)

                   A meeting of the board of directors (the “Board”) of Bittrex, Inc., a Georgia corporation
            (the “Company”), was held on May 5, 2023 by way of telephone conference call.

                     Members of the Board:

                     Present:                                           Not Present:

                     William Shihara (Chairman)                                None
                     Richie Lai
                     Rami Kawach
                     Timothy Pohl

                     Additional Persons Present:

                     David Maria, General Counsel
                     James Waschak, Chief Operating Officer
                     Lorna Chang, Chief of Staff
                     Evan Hengel, Chief Restructuring Officer
                     Patty Tomasco, Quinn Emanuel
                     Susheel Kirpalani, Quinn Emanuel
                     Daniel Holzman, Quinn Emanuel


                   As set forth above, a requisite number of the members of the Board, constituting a quorum,
            attended the meeting.

            CALL TO ORDER                     The meeting of the Board was called to order on May 5, 2023 at
                                              9:06 a.m. (PST) with the Agenda set out below.
            AGENDA                            Filing Authorization and Related Matters (see Exhibit A)

                                              1) Discussion, authorization and approval of the voluntary petition
                                                 for relief under applicable bankruptcy law and seeking
                                                 necessary relief;
                                              2) Discussion, authorization and approval of the retention of
                                                 professionals;
                                              3) Discussion, authorization and approval of the debtor-in-
                                                 possession financing;
                                              5) Delegation of power;
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS               Doc 1       Filed 05/08/23   Page 9 of 24




                                              6) Miscellaneous.
            OVERVIEW                          The Chairman opened the meeting noting that, prior to the meeting,
                                              the Board received (i) presentation materials relating to the potential
                                              chapter 11 filing of the Company, and (ii) proposed resolutions
                                              relating to the voluntary petition for relief, retention of
                                              professionals, use of cash collateral and delegation of power in the
                                              form attached hereto as Exhibit A (the “Board Resolutions”).
            ADOPTION OF RESOLUTIONS The Chairman then introduced the Board Resolutions. An
                                    opportunity was provided for members of the Board to ask questions
                                    of the Company’s management and advisors who were present at
                                    the meeting and a discussion ensued. After discussion concluded
                                    and upon a motion duly made and seconded, the Board unanimously
                                    approved the Board Resolutions. For purposes of the debtor-in-
                                    possession financing, Tim Pohl is designated as the Authorized
                                    Person to act on behalf of the Company and execute the relevant
                                    agreements.
            ADJOURNMENT                       Having no further business before it, the Board concluded the
                                              meeting, and the meeting was then adjourned by the Chairman at
                                              approximately    9:55 a.m. (PST).
            The undersigned, being the duly appointed Chairman of the Board meeting, certifies that the
            minutes of the Board are true and correct.

                                                                 ***




                                                                     2
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS           Doc 1   Filed 05/08/23    Page 10 of 24




            Name: William Shihara
            Title: Chairman




                                                [Signature Page - Board Minutes]
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS           Doc 1   Filed 05/08/23    Page 11 of 24




                                                             EXHIBIT A

                                                   Chapter 11 Filing Resolutions




                                                [Signature Page - Board Minutes]
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS           Doc 1   Filed 05/08/23     Page 12 of 24




                                                         BITTREX, INC.

                           Resolutions of the Board of Directors (“Board”) of Bittrex, Inc. (the
                                                      “Company”)
                                  Approved at a Meeting of the Board on May 5, 2023

                             WHEREAS, the Board has considered certain materials presented by, or
                     on behalf of, the Company’s management (“Management”) and financial and legal
                     advisors (collectively, “Advisors”), including, but not limited to, materials
                     regarding the liabilities, obligations and liquidity of the Company, the strategic
                     alternatives available to the Company, and the impact of the foregoing on the
                     Company’s business and the business of the Company’s affiliates.

                            WHEREAS, the Board has had adequate opportunity to consult with its
                     Management and Advisors regarding the materials presented, to obtain additional
                     information and to fully consider each of the strategic alternatives available to the
                     Company.

                             WHEREAS, the Board has determined, in the judgement of the Board, that
                     the following resolutions are advisable and in the best interests of the Company, its
                     stakeholders, its creditors, and other parties in interest.

                                              Voluntary Petition for Relief under
                                                         Chapter 11

                             NOW, THEREFORE, BE IT

                             RESOLVED, that in the judgment of the Board, it is desirable and in the
                     best interest of the Company, its stakeholders, its creditors, and other parties in
                     interest, that the Company shall be, and hereby is, in all respects authorized to file,
                     or cause to be filed, a voluntary petition for relief (the “Bankruptcy Petition”) under
                     the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101
                     et seq. (as amended, the “Bankruptcy Code”) for the Company, and the Board
                     hereby consents to, authorizes, and approves, the filing of the Bankruptcy Petition.

                            RESOLVED, that any director or duly appointed officer of the Company,
                     each acting individually and with full power of substitution (together with any
                     persons to whom such persons delegate certain responsibilities, collectively, the
                     “Authorized Persons”) be, and hereby is, authorized to execute and file on behalf
                     of the Company all petitions, schedules, lists, and other motions, papers, or
                     documents, and to take any and all action that such Authorized Person deems
                     necessary or proper to obtain such relief, including, but not limited to, any action
                     necessary or proper to maintain the ordinary course operations of the Company.

                                                    Retention of Professionals

                            RESOLVED, that each of the Authorized Persons, acting individually and
                     with full power of substitution, be, and hereby is, authorized, empowered and

                                                                 1
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS           Doc 1   Filed 05/08/23     Page 13 of 24




                     directed to employ the following professionals on behalf of the Company: : (i) the
                     law firm of Quinn Emanuel Urquhart & Sullivan LLP, as general bankruptcy
                     counsel, (ii) the firm of Berkeley Research Group, LLC, as a restructuring advisor,
                     and (iii) any other legal counsel, accountants, financial advisors, restructuring
                     advisors or other professionals such Authorized Person deems necessary,
                     appropriate or advisable; each to represent and assist the Company in carrying out
                     its duties and responsibilities and exercising its rights under the Bankruptcy Code
                     and any applicable law (including, but not limited to, the law firms filing any
                     pleadings or responses) and to take any and all actions to advance the rights and
                     obligations of the Company, including filing any motions, objections, replies,
                     applications, or pleadings; and in connection therewith, each of the Authorized
                     Persons be, and hereby is authorized, empowered and directed, in accordance with
                     the terms and conditions hereof, to execute appropriate retention agreements, pay
                     appropriate retainers, and to cause to be filed appropriate applications for authority
                     to retain such services.

                                                Debtor-In-Possession Financing

                             RESOLVED, that in the judgment of the Board, the Company will receive
                     benefits from the DIP Credit Agreement (as defined below) and the loans
                     contemplated thereunder, and it is desirable and in the best interest of the Company,
                     its stakeholders, creditors, and other parties in interest that the form, terms and
                     provisions of (i) that certain debtor-in-possession credit agreement (together with
                     any and all exhibits, schedules and annexes thereto, the “DIP Credit Agreement”),
                     and (ii) the Loan Documents (as defined in the DIP Credit Agreement) to the
                     Company is a party, and all other documents, agreements, instruments or
                     certificates, intellectual property security agreements, joinders, consents, and
                     amendments, restatements, modifications or supplements to any of the foregoing to
                     be executed, delivered or filed by the Company in connection therewith, and the
                     transactions contemplated by the DIP Credit Agreement and the other Credit
                     Documents (in each case including, without limitation, the borrowings and other
                     extensions of credit thereunder, and the guaranties, liabilities, obligations, security
                     interest granted and notes issued (if any) in connection therewith) be, and hereby
                     are, authorized, adopted and approved in substantially the form presented to the
                     Board, together with such changes as may be approved by the applicable
                     Authorized Persons executing and delivering the same, such approval to be
                     conclusively evidenced by such Authorized Person’s execution and delivery
                     thereof.

                              RESOLVED, that the Board has determined that it is necessary and in the
                     best interest of the Company’s business and affairs, each of its interest holders,
                     subsidiaries, creditors and other parties in interest to execute, deliver and perform
                     the DIP Credit Agreement and the other Credit Documents to which the Company
                     is a party, to perform the Company’s obligations thereunder and to consummate the
                     transactions contemplated thereby, including, without limitation, any borrowings,
                     the performance of any guarantees and the granting of any security interests and
                     liens, and the Company’s execution and delivery of, and the incurrence and

                                                                 2
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS           Doc 1   Filed 05/08/23    Page 14 of 24




                     performance of its obligations in connection with the DIP Credit Agreement,
                     including without limitation, the guarantee of the obligations thereunder, and any
                     other Credit Document to which it is a party, and the consummation of the
                     transactions contemplated thereby or entered into in connection with the Credit
                     Documents, including, without limitation, any borrowing by the Company under
                     the Credit Documents, are hereby, in all respects, authorized and approved.

                                               Further Actions and Prior Actions

                             RESOLVED, that each of the Authorized Persons, each acting individually
                     and with full power of substitution be, and hereby is, authorized, empowered and
                     directed to execute and file all petitions, schedules, motions, lists, applications,
                     pleadings, and other papers, and to perform such further actions and execute such
                     further documentation that such Authorized Person in their absolute discretion
                     deems necessary, appropriate or desirable in accordance with these resolutions.

                            RESOLVED, that to the extent the Company is directly or indirectly the
                     sole member, general partner, managing member, equivalent manager, or other
                     governing body of certain of the Company’s subsidiaries (each, a “Controlled
                     Company”), each Authorized Person is authorized, empowered and directed to take
                     each of the actions described in these resolutions or any of the actions authorized
                     by these resolutions on behalf of each such applicable Controlled Company.

                             RESOLVED, that, in addition to the specific authorizations heretofore
                     conferred upon the Authorized Persons, the Authorized Persons, either individually
                     or as otherwise required by the Company’s governing documents and applicable
                     law, be, and each of them hereby is, authorized to take any and all such other and
                     further actions, and to do all such other deeds and other things as the Company
                     itself may lawfully do, in accordance with its governing documents and applicable
                     law, including but not limited to, the negotiation, finalization, execution,
                     acknowledgement, delivery, and filing of any and all agreements, certificates,
                     instruments, powers of attorney, letters, forms, transfer, deeds and other documents
                     on behalf of the Company, and the payment of all expenses, including but not
                     limited to filing fees, in each case as such Authorized Person’s or Authorized
                     Persons’ may, in his/her/its/their absolute and unfettered discretion approve, deem
                     or determine necessary, appropriate, advisable or desirable in order to fully carry
                     out the intent and accomplish the purposes of the resolutions adopted herein; such
                     approval, deeming or determination to be conclusively evidenced by said individual
                     taking such action or the execution thereof.

                             RESOLVED, that the Board has received sufficient notice of the actions
                     and transactions relating to the matters contemplated by the foregoing resolutions,
                     as may be required by the organizational documents of the Company, or hereby
                     waives any right to have received such notice.

                           RESOLVED, that all acts, actions, and transactions relating to the matters
                     contemplated by the foregoing resolutions done in the name of and on behalf of the

                                                                 3
DocuSign Envelope ID: 8FF02A92-AB9D-4558-8A20-3CF76106FE55
                             Case 23-10598-BLS           Doc 1   Filed 05/08/23   Page 15 of 24




                     Company, which acts would have been approved by the foregoing resolutions
                     except that such acts were taken before the adoption of these resolutions, are hereby
                     in all respects approved, confirmed and ratified as the true acts and deeds of the
                     Company with the same force and effect as if each such act, transaction, agreement,
                     or certificate had been specifically authorized in advance by resolution of the
                     Board.




                                                                 4
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 16 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 17 of 24
                                               Case 23-10598-BLS                  Doc 1       Filed 05/08/23            Page 18 of 24



     Fill in this information to identify the case:
     Debtor name:         Desolation Holdings LLC, et al.,
     United States Bankruptcy Court for the District of Delaware
     Case number (if known):
                                                                                                                                                                           □ Check if this is
                                                                                                                                                                           an amended filing



   Official Form 204
   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims
   and Are Not Insiders                                                                    12/15

   A list of creditors holding the SO largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims
   by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from
   inadequate collateral value places the creditor among the holders of the SO largest unsecured claims.
       Name of creditor and complete mailing     Name, telephone number, and       Nature of the claim (for  Indicate if claim Amount of unsecured claim
       address, including zip code               email address of creditor         example, trade debts,     is or disputed    If the daim is fully unsecured, fill in only unsecured daim
                                                                                   bank loans. services, and                   amount. If claim is partially secured, fill in total claim
        UUID
                                                                                                                               amount and deduction for value of collateral or setoff to
                                                                                                                               calculate unsecured claim.

                                                                                                                                 Total claim, if     Deduction for          Unsecured claim
                                                                                                                                 partially           value of collateral
                                                                                                                                 secured             or setoff
   1 Office of Foreign Asset Control            Alison Cooper, Chief,              Settlement                                                                              $24,280,829.20
     U.S. Department of the Treasury            Financial Sector Investigations
     Treasury Annex/Freedman's Bank Bldg.       1-202-622-2490
     1500 Pennsylvania Avenue, NW
     Washington, DC 20220
   2 c09b87dc-64d8-440d-b71f-b2efde2aff6        On file                            Customer                    Contingent                                                  $14,586,302.21




   3 83393306-93434855-8987-868266cb144e On file                                   Customer                    Contingent                                                  $10,655,025.38




   4 xt07e9b-08dc-4691-a7a0-91789961f52c        On file                            Customer                    Contingent                                                  $6,937,360.13




Official Form 204
                                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the SO Largest Unsecured Claims                                                      Page 1
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 19 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 20 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 21 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 22 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 23 of 24
Case 23-10598-BLS   Doc 1   Filed 05/08/23   Page 24 of 24
